                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION


 CONCORD MUSIC GROUP, INC., et. al.,
                                                             Case No. 3:23-cv-00606
                                    Plaintiffs,
                                                             ANSWER TO COMPLAINT
                      v.
                                                             Hon. Aleta A. Trauger
 X CORP., D/B/A TWITTER,

                                    Defendant.


                                            INTRODUCTION

          1.        Defendant admits that Plaintiff filed a civil action seeking damages and injunctive

relief. Defendant otherwise denies the allegations in Paragraph 1 of the Complaint, including that

there has been any wrongdoing.

          2.        Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 2 of the Complaint and on that basis denies those allegations.

          3.        Defendant admits that it owns and operates an online social media platform and a

downloadable software application (“app”) formerly known as Twitter and now called X that is

used, among other purposes, to share and view messages and media, and that the platform was

purchased by Elon Musk in 2022. Defendant otherwise denies the allegations in Paragraph 3 of

the Complaint.

          4.        Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 4 of the Complaint and on that basis denies those allegations.

          5.        Defendant admits that Twitter began as a destination for short text-based messages

and that X competes with other social media sites for users, advertisers, and subscribers.

Defendant otherwise denies the allegations in Paragraph 5 of the Complaint.


05766-00016/14761627.11
  Case 3:23-cv-00606            Document 95        Filed 04/09/24     Page 1 of 29 PageID #: 539
       6.      Defendant lacks knowledge or information sufficient to admit or deny the

allegations in the first two sentences of Paragraph 6 of the Complaint and on that basis denies those

allegations. Defendant otherwise denies the allegations in Paragraph 6 of the Complaint.

       7.      Defendant lacks knowledge or information sufficient to admit or deny the

allegations in the first three sentences of Paragraph 7 of the Complaint and on that basis denies

those allegations. Defendant otherwise denies the allegations in Paragraph 7 of the Complaint.

       8.      Defendant denies the allegations in Paragraph 8 of the Complaint.

       9.      Defendant denies the allegations in Paragraph 9 of the Complaint.

       10.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in the first two sentences of Paragraph 10 of the Complaint and on that basis denies

those allegations. Defendant otherwise denies the allegations in Paragraph 10 of the Complaint.

       11.     Defendant denies the allegations in Paragraph 11 of the Complaint.

                                 JURISDICTION AND VENUE

       12.     Paragraph 12 contains legal conclusions to which no response is required. To the

extent that a response is required, Defendant admits that Plaintiffs purport to base jurisdiction over

the subject matter of this action on the statutory provisions cited.

       13.     Paragraph 13 contains legal conclusions to which no response is required. To the

extent that a response is required, Defendant denies the remaining allegations of Paragraph 13,

except that Defendant admits it provides services to users in Tennessee.

       14.     Defendant admits that it provides services to users in Tennessee, including residents

of this District. Defendant denies the remaining allegations in Paragraph 14 of the Complaint.

       15.     Defendant admits that it provides services to users in the United States, which may

include users in Tennessee, and that, for users who have agreed to its terms of services and selected

certain privacy options, it uses geolocation to serve targeted ads to users. Defendant admits that


                                                  2
 Case 3:23-cv-00606         Document 95         Filed 04/09/24         Page 2 of 29 PageID #: 540
Plaintiffs purport to characterize, paraphrase and quote, selectively and out of context, an internet

site, and that the content of any such internet site, considered fully and in context, would speak for

itself. Otherwise, Paragraph 15 contains legal conclusions to which no response is required. To

the extent that a response is required, Defendant denies the remaining allegations of Paragraph 15.

       16.     Defendant denies that there has been any unlawful conduct giving rise to harm to

the Publishers in this case. Defendant otherwise lacks knowledge or information sufficient to

admit or deny the allegations in Paragraph 16 and on that basis denies those allegations.

       17.     Paragraph 17 contains legal conclusions to which no response is required. To the

extent that a response is required, Defendant denies the allegations of Paragraph 17, other than that

it admits that it provides services to users in Tennessee.

                                          THE PARTIES

       A.      Publishers

       18.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 18 of the Complaint and on that basis denies those allegations.

       ABKCO Music

       19.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 19 of the Complaint and on that basis denies those allegations.

       20.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 20 of the Complaint and on that basis denies those allegations.

       Anthem Entertainment

       21.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 21 of the Complaint and on that basis denies those allegations.

       22.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 22 of the Complaint and on that basis denies those allegations.


                                                  3
 Case 3:23-cv-00606         Document 95         Filed 04/09/24      Page 3 of 29 PageID #: 541
       Big Machine Music

       23.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 23 of the Complaint and on that basis denies those allegations.

       24.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 24 of the Complaint and on that basis denies those allegations.

       BMG Rights Management

       25.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 25 of the Complaint and on that basis denies those allegations.

       26.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 26 of the Complaint and on that basis denies those allegations.

       Concord

       27.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 27 of the Complaint and on that basis denies those allegations.

       28.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 28 of the Complaint and on that basis denies those allegations.

       Hipgnosis

       29.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 29 of the Complaint and on that basis denies those allegations.

       30.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 30 of the Complaint and on that basis denies those allegations.

       31.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 31 of the Complaint and on that basis denies those allegations.

       32.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 32 of the Complaint and on that basis denies those allegations.


                                                4
 Case 3:23-cv-00606        Document 95        Filed 04/09/24     Page 4 of 29 PageID #: 542
       33.      Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 33 of the Complaint and on that basis denies those allegations.

       Kobalt

       34.      Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 34 of the Complaint and on that basis denies those allegations.

       35.      Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 35 of the Complaint and on that basis denies those allegations.

       Mayimba

       36.      Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 36 of the Complaint and on that basis denies those allegations.

       37.      Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 37 of the Complaint and on that basis denies those allegations.

       38.      Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 38 of the Complaint and on that basis denies those allegations.

       39.      Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 39 of the Complaint and on that basis denies those allegations.

       Peer

       40.      Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 40 of the Complaint and on that basis denies those allegations.

       41.      Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 41 of the Complaint and on that basis denies those allegations.

       42.      Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 42 of the Complaint and on that basis denies those allegations.




                                                5
 Case 3:23-cv-00606        Document 95        Filed 04/09/24     Page 5 of 29 PageID #: 543
       43.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 43 of the Complaint and on that basis denies those allegations.

       44.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 44 of the Complaint and on that basis denies those allegations.

       45.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 45 of the Complaint and on that basis denies those allegations.

       46.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 46 of the Complaint and on that basis denies those allegations.

       47.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 47 of the Complaint and on that basis denies those allegations.

       Reservoir Media Management

       48.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 48 of the Complaint and on that basis denies those allegations.

       49.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 49 of the Complaint and on that basis denies those allegations.

       Sony Music Publishing

       50.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 50 of the Complaint and on that basis denies those allegations.

       51.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 51 of the Complaint and on that basis denies those allegations.

       52.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 52 of the Complaint and on that basis denies those allegations.

       53.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 53 of the Complaint and on that basis denies those allegations.


                                                6
 Case 3:23-cv-00606        Document 95        Filed 04/09/24     Page 6 of 29 PageID #: 544
       54.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 54 of the Complaint and on that basis denies those allegations.

       55.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 55 of the Complaint and on that basis denies those allegations.

       56.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 56 of the Complaint and on that basis denies those allegations.

       57.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 57 of the Complaint and on that basis denies those allegations.

       58.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 58 of the Complaint and on that basis denies those allegations.

       59.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 59 of the Complaint and on that basis denies those allegations.

       60.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 60 of the Complaint and on that basis denies those allegations.

       61.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 61 of the Complaint and on that basis denies those allegations.

       62.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 62 of the Complaint and on that basis denies those allegations.

       Spirit Music Group

       63.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 63 of the Complaint and on that basis denies those allegations.

       64.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 64 of the Complaint and on that basis denies those allegations.

       The Royalty Network


                                                7
 Case 3:23-cv-00606        Document 95        Filed 04/09/24     Page 7 of 29 PageID #: 545
       65.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 65 of the Complaint and on that basis denies those allegations.

       66.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 66 of the Complaint and on that basis denies those allegations.

       Ultra Music Publishing

       67.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 67 of the Complaint and on that basis denies those allegations.

       68.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 68 of the Complaint and on that basis denies those allegations.

       Universal Music Publishing Group

       69.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 69 of the Complaint and on that basis denies those allegations.

       70.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 70 of the Complaint and on that basis denies those allegations.

       71.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 71 of the Complaint and on that basis denies those allegations.

       72.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 72 of the Complaint and on that basis denies those allegations.

       73.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 73 of the Complaint and on that basis denies those allegations.

       74.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 74 of the Complaint and on that basis denies those allegations.




                                                8
 Case 3:23-cv-00606        Document 95        Filed 04/09/24     Page 8 of 29 PageID #: 546
       75.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 75 of the Complaint and on that basis denies those allegations.

       76.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 76 of the Complaint and on that basis denies those allegations.

       Warner Chappell

       77.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 77 of the Complaint and on that basis denies those allegations.

       78.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 78 of the Complaint and on that basis denies those allegations.

       79.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 79 of the Complaint and on that basis denies those allegations.

       80.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 80 of the Complaint and on that basis denies those allegations.

       81.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 81 of the Complaint and on that basis denies those allegations.

       82.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 82 of the Complaint and on that basis denies those allegations.

       83.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 83 of the Complaint and on that basis denies those allegations.

       84.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 84 of the Complaint and on that basis denies those allegations.

       85.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 85 of the Complaint and on that basis denies those allegations.




                                                9
 Case 3:23-cv-00606        Document 95        Filed 04/09/24     Page 9 of 29 PageID #: 547
         Wixen

         86.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 86 of the Complaint and on that basis denies those allegations.

         87.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 87 of the Complaint and on that basis denies those allegations.

         B.      Twitter

         88.     Defendant admits that it is a corporation organized under the laws of Nevada, with

its principal place of business in San Francisco, California, and that it is doing business as X.

Defendant otherwise denies the remaining allegations of Paragraph 88.1

         89.     Defendant denies that there has been any wrongdoing, but otherwise admits the

allegations in Paragraph 89.

                           PUBLISHERS AND THEIR COPYRIGHTS

         90.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 90 of the Complaint and on that basis denies those allegations.

         91.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 91 of the Complaint and on that basis denies those allegations.

         92.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 92 of the Complaint and on that basis denies those allegations.

         93.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 93 of the Complaint and on that basis denies those allegations.




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   “X” was formerly known as “Twitter.” “Posts” used to be known as “tweets.” For the sake of
simplicity, Defendant will not make this distinction, or similar distinctions, in response to each
paragraph below.


                                                  10
    Case 3:23-cv-00606      Document 95        Filed 04/09/24     Page 10 of 29 PageID #: 548
       94.     Paragraph 94 contains legal conclusions to which no response is required. To the

extent a response is required, Defendant lacks knowledge or information sufficient to admit or

deny the allegations in Paragraph 94 of the Complaint and on that basis denies those allegations.

       95.     Paragraph 95 contains legal conclusions to which no response is required. To the

extent a response is required, Defendant lacks knowledge or information sufficient to admit or

deny the allegations in Paragraph 95 of the Complaint and on that basis denies those allegations.

       96.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 96 of the Complaint and on that basis denies those allegations.

       97.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 97 of the Complaint and on that basis denies those allegations.

       98.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 98 of the Complaint and on that basis denies those allegations.

       99.     Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 99 of the Complaint and on that basis denies those allegations.

       100.    Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 100 of the Complaint and on that basis denies those allegations.

       101.    Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 101 of the Complaint and on that basis denies those allegations.

       102. Defendant lacks knowledge or information sufficient to admit or deny the allegations

in Paragraph 102 of the Complaint and on that basis denies those allegations.




                                                11
Case 3:23-cv-00606         Document 95       Filed 04/09/24      Page 11 of 29 PageID #: 549
                        TWITTER AND ITS INFRINGING CONDUCT

        A.      The Twitter Platform Generally

        103.    Defendant admits the allegations in Paragraph 103, except it denies that it directs

its platform to Tennessee, that it tracks all forms of engagement mentioned in Paragraph 103, or

that it calls its user’s public posts “tweets.”

        104.    Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 104 of the Complaint, and on that basis denies those allegations.

        105.    Defendant admits the allegations in Paragraph 105 of the Complaint, except that it

denies that it only requires the user to provide it with a name and either an email address or phone

number to register an account.

        106.    Defendant admits the allegations in Paragraph 106 of the Complaint.

        107.    Defendant admits that certain of its posts may be available on select web search

engines, but otherwise denies the remaining allegations in Paragraph 107 of the Complaint.

        108.    Defendant denies the allegations in Paragraph 108 of the Complaint.

        109.    Defendant denies the allegations in Paragraph 109 of the Complaint.

        110.    Defendant admits the allegations in Paragraph 110 of the Complaint.

        111.    Defendant admits the allegations in Paragraph 111 of the Complaint to the extent

they concern the general operation of the website, but otherwise denies that the website involves

active, intentional, non-automatic conduct and the remaining allegations in Paragraph 111 of the

Complaint.

        112.    Defendant admits that users can view videos through the Media tab which includes

posts that contain attached media such as images and videos. Defendant otherwise denies the

remaining allegations in Paragraph 112 of the Complaint.




                                                     12
Case 3:23-cv-00606           Document 95          Filed 04/09/24   Page 12 of 29 PageID #: 550
       113.      Defendant admits that certain users of the X platform can be “verified,” which may

be indicated by a blue checkmark next to their profile name. Defendant denies that verification is

a feature of “Twitter Blue,” and otherwise denies the remaining allegations in Paragraph 113 of

the Complaint.

       114.      Defendant admits that users can view embedded videos in posts, but otherwise

denies that the website involves active, intentional, non-automatic conduct.

       115.      Defendant denies the allegations in Paragraph 115 of the Complaint.

       116.      Defendant denies the allegations in Paragraph 116 of the Complaint.

       B.        Music Fuels Twitter’s Business Model

       117.      Defendant admits that the X platform was created in 2006, that Defendant had its

initial public offering in 2013, and that Defendant was acquired by Mr. Musk in 2022, and has

thereafter been privately held by him. Defendant otherwise denies the allegations in Paragraph

117 of the Complaint.

       118.      Defendant admits that X allows images and AV content to be embedded in posts.

Defendant otherwise denies the remaining allegations in Paragraph 118 of the Complaint.

       119.      Defendant admits that it measures the number of active accounts and the level of

engagement by them, and admits that viewers who do not have an account on X may view posts

on the X platform. Defendant otherwise denies the remaining allegations in Paragraph 119 of the

Complaint.

       120.       Defendant denies the allegations in Paragraph 120 of the Complaint.

       121.      Defendant admits that its 2021 advertising revenue totaled $4.51 billion, and its

data licensing and other revenue totaled $571.8 million, an increase of 12% compared to 2020.

Defendant otherwise denies the remaining allegations in Paragraph 121 of the Complaint.




                                                 13
Case 3:23-cv-00606          Document 95       Filed 04/09/24      Page 13 of 29 PageID #: 551
       122.    Defendant admits that its data partners may purchase data licenses to access, search,

and analyze historical and real-time posts. Defendant otherwise denies the remaining allegations

in Paragraph 122 of the Complaint, including that there are any “infringing tweets.”

       123.    Defendant admits that it offers advertisers various services and admits that

Plaintiffs purport to characterize, paraphrase and quote, selectively and out of context, Defendant’s

Terms of Service, and that the content of any such Terms of Service, considered fully and in

context, would speak for itself. Defendant otherwise denies the remaining allegations in Paragraph

123 of the Complaint.

       124.    Defendant admits that it provides geo-targeting options to advertisers but otherwise

lacks knowledge or information sufficient to admit or deny the allegations in Paragraph 124 of the

Complaint, including as to the authenticity of the screenshots, and on that basis denies those

allegations.

       125.    Defendant admits that it offers a paid subscription to users that includes features

unavailable to those with a free account and that X Premium subscribers can make posts of up to

25,000 characters and videos of up to about three hours long. Defendant otherwise denies the

remaining allegations in Paragraph 125 of the Complaint.

       126.    Defendant denies the allegations in Paragraph 126 of the Complaint.

       127.    Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 127 of the Complaint, including as to the authenticity of the screenshot,

and on that basis denies those allegations.

       128.    Defendant admits that it controls the account “@music” and that Plaintiffs purport

to characterize, paraphrase and quote, selectively and out of context, certain statements, and that




                                                 14
Case 3:23-cv-00606         Document 95        Filed 04/09/24      Page 14 of 29 PageID #: 552
the content of any such statements, considered fully and in context, would speak for themselves.

Defendant otherwise denies the remaining allegations in Paragraph 128 of the Complaint.

       129.    Defendant admits that video content appears on the X platform.          Defendant

otherwise denies the remaining allegations in Paragraph 129 of the Complaint.

       130.    Defendant admits that Plaintiffs purport to characterize, paraphrase and quote,

selectively and out of context, certain statements, and that the content of any such statements,

considered fully and in context, would speak for themselves. Defendant otherwise denies the

allegations in Paragraph 130 of the Complaint.

       131.    Defendant admits that Plaintiffs purport to characterize, paraphrase and quote,

selectively and out of context, certain statements made by an unidentified account, and that the

content of any such statements, considered fully and in context, would speak for themselves.

Defendant otherwise denies the allegations in Paragraph 131 of the Complaint.

       132.    Defendant lacks knowledge or information sufficient to admit or deny the

allegations in the final sentence of Paragraph 132 of the Complaint and on that basis denies those

allegations. Defendant otherwise denies the allegations in Paragraph 132 of the Complaint.

       133.    Defendant admits that Plaintiffs purport to characterize, paraphrase and quote,

selectively and out of context, certain filings with the U.S. Securities and Exchange Commission,

and that the content of any such filings, considered fully and in context, would speak for

themselves. Defendant otherwise denies the allegations in Paragraph 133 of the Complaint.

       C.      The Proliferation of Infringing Music on Twitter

       134.    Defendant denies the allegations in Paragraph 134 of the Complaint.

       135.    Defendant denies the allegations in Paragraph 135 of the Complaint.




                                                15
Case 3:23-cv-00606        Document 95        Filed 04/09/24     Page 15 of 29 PageID #: 553
       136.    Defendant admits that it does not currently have a licensing deal with Plaintiffs.

Defendant lacks knowledge or information sufficient to admit or deny the remaining allegations

in Paragraph 136 of the Complaint and on that basis denies those allegations.

       137.    Defendant denies the allegations in Paragraph 137 of the Complaint.

       138.    Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 138 of the Complaint, including as to the authenticity of the screenshot,

and on that basis denies those allegations.

       139.    Defendant denies the allegations in Paragraph 139 of the Complaint.

       D.      Twitter’s Failure to Address Known Infringers and Infringements

       140.    Defendant denies the allegations in Paragraph 140 of the Complaint.

       141.    Defendant admits that it received notices from third party, the NMPA. Defendant

denies the remaining allegations in Paragraph 141 of the Complaint.

       142.    Defendant admits that it received notices from third party, the NMPA. Defendant

denies the remaining allegations in Paragraph 142 of the Complaint.

       143.    Defendant denies the allegations in Paragraph 143 of the Complaint.

       144.    Defendant denies the allegations in Paragraph 144 of the Complaint.

       145.    Defendant admits that it respects the rights of rightsholders and complies with the

requirements of the DMCA including by expeditiously removing complained-of content when it

receives a valid DMCA notice, and admits that Plaintiffs purport to characterize, paraphrase and

quote, selectively and out of context, a Letter to the U.S. Representatives, and that the content of

any such letter, considered fully and in context, would speak for itself. Defendant denies the

remaining allegations in Paragraph 145 of the Complaint.

       146.    Defendant denies the allegations in Paragraph 146 of the Complaint.

               1.      Twitter Delayed or Failed to Take Down Specific Infringing Material


                                                 16
Case 3:23-cv-00606         Document 95        Filed 04/09/24      Page 16 of 29 PageID #: 554
       147.    Defendant denies the allegations in Paragraph 147 of the Complaint.

       148.    Defendant admits that Plaintiffs purport to characterize, paraphrase and quote,

selectively and out of context, Defendant’s “Copyright policy,” and that the content of Defendant’s

Copyright policy, considered fully and in context, would speak for itself. Defendant otherwise

denies the allegations in Paragraph 148 of the Complaint.

       149.    Defendant denies the allegations in Paragraph 149 of the Complaint.

       150.    Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 150 of the Complaint and on that basis denies those allegations.

       151.    Defendant denies the allegations in Paragraph 151 of the Complaint.

       152.    Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 152 of the Complaint and on that basis denies those allegations.

       153.    Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 153 of the Complaint and on that basis denies those allegations.

               2.     Twitter Failed to Implement a Policy to Terminate Repeat Infringers

       154.    Defendant denies the allegations in Paragraph 154 of the Complaint.

       155.    Defendant admits that Plaintiffs purport to characterize, paraphrase and quote,

selectively and out of context, Defendant’s Copyright policy, and that the content of Defendant’s

Copyright policy, considered fully and in context, would speak for itself. Defendant otherwise

denies the allegations in Paragraph 155 of the Complaint.

       156.    Defendant admits that Plaintiffs purport to characterize, paraphrase and quote,

selectively and out of context, Defendant’s Copyright policy, and that the content of Defendant’s

Copyright policy, considered fully and in context, would speak for itself. Defendant otherwise

denies the allegations in Paragraph 156 of the Complaint.




                                                17
Case 3:23-cv-00606         Document 95       Filed 04/09/24      Page 17 of 29 PageID #: 555
       157.    Defendant admits that Plaintiffs purport to characterize, paraphrase and quote,

selectively and out of context, Defendant’s Copyright policy, and that the content of Defendant’s

Copyright policy, considered fully and in context, would speak for itself. Defendant otherwise

denies the allegations in Paragraph 157 of the Complaint.

       158.    Defendant admits that Plaintiffs purport to characterize, paraphrase and quote,

selectively and out of context, a version of Defendant's copyright policy, and the content of that

version, considered fully and in context, would speak for itself. Defendant otherwise denies the

allegations in Paragraph 158 of the Complaint.

       159.    Defendant admits that Plaintiffs purport to characterize, paraphrase and quote,

selectively and out of context, a statement by Defendant, and that the content of Defendant’s

statement, considered fully and in context, would speak for itself. Defendant otherwise denies the

allegations in Paragraph 159 of the Complaint.

       160.    Defendant denies the allegations in Paragraph 160 of the Complaint.

       161.    Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 161 of the Complaint and on that basis denies those allegations.

       162.    Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 162 of the Complaint and on that basis denies those allegations.

       163.    Defendant admits that Plaintiffs purport to characterize, paraphrase and quote,

selectively and out of context, a statement by Defendant, and that the content of Defendant’s

statement, considered fully and in context, would speak for itself. Otherwise, Paragraph 163

contains legal conclusions to which no response is required. To the extent that a response is

required, Defendant denies the allegations of Paragraph 163.

       164.    Defendant denies the allegations in Paragraph 164 of the Complaint.




                                                18
Case 3:23-cv-00606        Document 95        Filed 04/09/24     Page 18 of 29 PageID #: 556
       165.    Defendant denies the allegations in Paragraph 165 of the Complaint.

       166.    Defendant lacks knowledge or information sufficient to admit or deny the

allegations in bullet points of Paragraph 166 of the Complaint and on that basis denies those

allegations. Defendant otherwise denies the allegations in Paragraph 166 and Footnote 10 of the

Complaint.

       167.    Defendant denies the allegations in Paragraph 167 of the Complaint.

       168.    Defendant denies the allegations in Paragraph 168 of the Complaint.

       169.    Defendant denies the allegations in Paragraph 169 of the Complaint.

               3.     Twitter’s Right and Ability to Supervise and Control its Users’ Activity

       170.    Defendant denies the allegations in Paragraph 170 of the Complaint.

       171.    Defendant admits that it informs users that it has a variety of enforcement options

and that Plaintiffs purport to characterize, paraphrase and quote, selectively and out of context,

Defendant’s Terms of Service, and that the contents of Defendant’s Terms of Service, considered

fully and in context, would speak for themselves. Defendant otherwise denies the allegations in

Paragraph 171 of the Complaint.

       172.    Defendant admits that it can block or remove content that violates “The X Rules”

and that Plaintiffs purport to characterize and paraphrase, selectively and out of context,

Defendant’s X Rules, and that the contents of Defendant’s X Rules, considered fully and in context,

would speak for themselves. Defendant otherwise denies the allegations in Paragraph 172 of the

Complaint.

       173.    Defendant denies the allegations in Paragraph 173 of the Complaint.

       174.    Defendant denies the allegations in Paragraph 174 of the Complaint.

       175.    Defendant admits that it complies with the requirements of the DMCA but denies

the remaining allegations in Paragraph 175 of the Complaint.


                                                19
Case 3:23-cv-00606         Document 95       Filed 04/09/24      Page 19 of 29 PageID #: 557
       176.    Defendant denies the allegations in Paragraph 176 of the Complaint.

       E.      The Infringing Activity Is Only Worsening

       177.    Defendant denies the allegations in Paragraph 177 of the Complaint.

       178.    Defendant admits that it received notices from third party, the NMPA. Defendant

further admits that it has fewer employees today than it did at the time of the change of control.

To the extent the allegations in Paragraph 178 characterize Defendant’s business decisions,

Defendant denies that Plaintiffs have accurately and completely done so. Defendant denies the

remaining allegations in Paragraph 178 of the Complaint.

       179.    Defendant admits that Yoel Roth was an employee of Defendant and left the

company in November 2022 and that Ella Irwin was an employee of Defendant who left the

company in May 2023. To the extent the allegations in Paragraph 179 purport to quote and

characterize Mr. Roth’s statement, Defendant admits that Plaintiffs purport to characterize,

paraphrase and quote, selectively and out of context, an article from the New York Times, and that

the content of any such article, considered fully and in context, would speak for itself. Defendant

otherwise denies the remaining allegations in Paragraph 179 of the Complaint.

       180.    Defendant denies the allegations in Paragraph 180 of the Complaint.

       181.    Defendant lacks knowledge or information sufficient to admit or deny the

allegations in Paragraph 181 of the Complaint, which purport to selectively characterize and

paraphrase from unidentified sources, and on that basis denies those allegations.

       182.    Defendant admits that Plaintiffs purport to characterize, paraphrase and quote,

selectively and out of context, a post by Elon Musk, and that the content of any such post,

considered fully and in context, would speak for itself. Defendant otherwise denies the allegations

in Paragraph 182 of the Complaint.




                                                20
Case 3:23-cv-00606         Document 95       Filed 04/09/24      Page 20 of 29 PageID #: 558
       F.      The Harm to Publishers

       183.    Defendant denies the allegations in Paragraph 183 of the Complaint.

       184.    Defendant denies that there has been any wrongdoing. Defendant otherwise lacks

knowledge or information sufficient to admit or deny the allegations in Paragraph 184 of the

Complaint and on that basis denies those allegations.

       185.    Defendant denies that there has been any wrongdoing. Defendant otherwise lacks

knowledge or information sufficient to admit or deny the allegations in Paragraph 185 of the

Complaint and on that basis denies those allegations.

       186.    Defendant denies that there has been any wrongdoing. Defendant otherwise lacks

knowledge or information sufficient to admit or deny the allegations in Paragraph 186 of the

Complaint and on that basis denies those allegations.

       187.    Defendant denies that there has been any wrongdoing. Defendant otherwise lacks

knowledge or information sufficient to admit or deny the allegations in Paragraph 187 of the

Complaint and on that basis denies those allegations.

       188.    Defendant denies the allegations in Paragraph 188 of the Complaint.

       189.    Defendant denies the allegations in Paragraph 189 of the Complaint.

                                   CLAIMS FOR RELIEF

                          Count I – Direct Copyright Infringement

       190.    Plaintiffs’ Count I for Direct Copyright Infringement has been dismissed with

prejudice. ECF 90-91. Defendant is under no obligation to answer this allegation.

       191.    Plaintiffs’ Count I for Direct Copyright Infringement has been dismissed with

prejudice. ECF 90-91. Defendant is under no obligation to answer this allegation.

       192.    Plaintiffs’ Count I for Direct Copyright Infringement has been dismissed with

prejudice. ECF 90-91. Defendant is under no obligation to answer this allegation.


                                                21
Case 3:23-cv-00606        Document 95        Filed 04/09/24    Page 21 of 29 PageID #: 559
       193.      Plaintiffs’ Count I for Direct Copyright Infringement has been dismissed with

prejudice. ECF 90-91. Defendant is under no obligation to answer this allegation.

       194.      Plaintiffs’ Count I for Direct Copyright Infringement has been dismissed with

prejudice. ECF 90-91. Defendant is under no obligation to answer this allegation.

       195.      Plaintiffs’ Count I for Direct Copyright Infringement has been dismissed with

prejudice. ECF 90-91. Defendant is under no obligation to answer this allegation.

       196.      Plaintiffs’ Count I for Direct Copyright Infringement has been dismissed with

prejudice. ECF 90-91. Defendant is under no obligation to answer this allegation.

                              Count II – Contributory Infringement

       197.      Defendant incorporates by reference its responses to Paragraphs 1 through 196 of

the Complaint.

       198.      Plaintiffs’ Count II for Contributory Infringement has been dismissed in part with

prejudice. ECF 90-91. Defendant is under no obligation to answer this allegation to the extent it

supports the portion of the claim that has been dismissed. Defendant admits that Exhibit A to the

Complaint purports to list the works alleged by Plaintiffs in this action. Paragraph 198 contains

legal conclusions to which no response is required. To the extent a response is required, Defendant

denies the allegations contained in Paragraph 198 of the Complaint.

       199.      Plaintiffs’ Count II for Contributory Infringement has been dismissed in part with

prejudice. ECF 90-91. Defendant is under no obligation to answer this allegation to the extent it

supports the portion of the claim that has been dismissed.         Paragraph 199 contains legal

conclusions to which no response is required. To the extent a response is required, Defendant

denies the allegations contained in Paragraph 199 of the Complaint.

       200.      Plaintiffs’ Count II for Contributory Infringement has been dismissed in part with

prejudice. ECF 90-91. Defendant is under no obligation to answer this allegation to the extent it


                                                 22
Case 3:23-cv-00606          Document 95       Filed 04/09/24      Page 22 of 29 PageID #: 560
supports the portion of the claim that has been dismissed.       Paragraph 200 contains legal

conclusions to which no response is required. To the extent a response is required, Defendant

denies the allegations contained in Paragraph 200 of the Complaint.

       201.   Plaintiffs’ Count II for Contributory Infringement has been dismissed in part with

prejudice. ECF 90-91. Defendant is under no obligation to answer this allegation to the extent it

supports the portion of the claim that has been dismissed.       Paragraph 201 contains legal

conclusions to which no response is required. To the extent a response is required, Defendant

denies the allegations contained in Paragraph 201 of the Complaint.

       202.   Plaintiffs’ Count II for Contributory Infringement has been dismissed in part with

prejudice. ECF 90-91. Defendant is under no obligation to answer this allegation to the extent it

supports the portion of the claim that has been dismissed.        Paragraph 202 contains legal

conclusions to which no response is required. To the extent a response is required, Defendant

denies the allegations contained in Paragraph 202 of the Complaint.

       203.   Plaintiffs’ Count II for Contributory Infringement has been dismissed in part with

prejudice. ECF 90-91. Defendant is under no obligation to answer this allegation to the extent it

supports the portion of the claim that has been dismissed.       Paragraph 203 contains legal

conclusions to which no response is required. To the extent a response is required, Defendant

denies the allegations contained in Paragraph 203 of the Complaint.

       204.   Plaintiffs’ Count II for Contributory Infringement has been dismissed in part with

prejudice. ECF 90-91. Defendant is under no obligation to answer this allegation to the extent it

supports the portion of the claim that has been dismissed.       Paragraph 204 contains legal

conclusions to which no response is required. To the extent a response is required, Defendant

denies the allegations contained in Paragraph 204 of the Complaint.




                                               23
Case 3:23-cv-00606        Document 95       Filed 04/09/24      Page 23 of 29 PageID #: 561
       205.   Plaintiffs’ Count II for Contributory Infringement has been dismissed in part with

prejudice. ECF 90-91. Defendant is under no obligation to answer this allegation to the extent it

supports the portion of the claim that has been dismissed.        Paragraph 205 contains legal

conclusions to which no response is required. To the extent a response is required, Defendant

denies the allegations contained in Paragraph 205 of the Complaint.

                             Count III – Vicarious Infringement

       206.   Plaintiffs’ Count III for Vicarious Infringement has been dismissed with prejudice.

ECF 90-91. Defendant is under no obligation to answer this allegation.

       207.   Plaintiffs’ Count III for Vicarious Infringement has been dismissed with prejudice.

ECF 90-91. Defendant is under no obligation to answer this allegation.

       208.   Plaintiffs’ Count III for Vicarious Infringement has been dismissed with prejudice.

ECF 90-91. Defendant is under no obligation to answer this allegation.

       209.   Plaintiffs’ Count III for Vicarious Infringement has been dismissed with prejudice.

ECF 90-91. Defendant is under no obligation to answer this allegation.

       210.   Plaintiffs’ Count III for Vicarious Infringement has been dismissed with prejudice.

ECF 90-91. Defendant is under no obligation to answer this allegation.

       211.   Plaintiffs’ Count III for Vicarious Infringement has been dismissed with prejudice.

ECF 90-91. Defendant is under no obligation to answer this allegation.

       212.   Plaintiffs’ Count III for Vicarious Infringement has been dismissed with prejudice.

ECF 90-91. Defendant is under no obligation to answer this allegation.

       213.   Plaintiffs’ Count III for Vicarious Infringement has been dismissed with prejudice.

ECF 90-91. Defendant is under no obligation to answer this allegation.

       214.   Plaintiffs’ Count III for Vicarious Infringement has been dismissed with prejudice.

ECF 90-91. Defendant is under no obligation to answer this allegation.


                                               24
Case 3:23-cv-00606        Document 95       Filed 04/09/24      Page 24 of 29 PageID #: 562
                                      PRAYER FOR RELIEF

        Plaintiffs’ Prayer for Relief contains legal conclusions to which no response is required.

To the extent a response is required, Defendant denies any allegations associated with Plaintiffs’

Prayer for Relief and denies that Plaintiffs are entitled to any relief.

                                     JURY TRIAL DEMAND

        Defendant demands a trial by jury of all issues that are so triable.

                                   AFFIRMATIVE DEFENSES

        Defendant identifies the following affirmative defenses and reserves the right to raise

additional defenses as discovery proceeds. Defendant does not assume the burden of proof on any

issue, however characterized, on which it does not bear that burden. Defendant reserves all

affirmative defenses not stated herein under Rule 8(c) of the Federal Rules of Civil Procedure and

any other defense at law or in equity that may now exist or in the future be available based upon

discovery and further investigation in this case.

            1. The Complaint, and the sole remaining claim (Count II – “Contributory

                Infringement”) within it, fails to state facts sufficient to constitute a claim upon

                which relief can be granted.

            2. The statute of limitations bars Plaintiffs’ claim based on contributory liability to the

                extent Plaintiffs allege infringements that accrued outside the three-year limitations

                period, including any applicable tolling of the limitations period.

            3. Plaintiffs’ claim based on contributory liability is barred by their failure to join

                indispensable parties.

            4. Plaintiffs’ claim based on contributory liability is barred or their damages are

                limited because any infringement was innocent and was not willful.




                                                   25
Case 3:23-cv-00606          Document 95         Filed 04/09/24       Page 25 of 29 PageID #: 563
        5. Plaintiffs’ claim based on contributory liability is barred because Plaintiffs cannot

           establish primary liability.

        6. Plaintiffs’ claim based on contributory liability is barred because Defendant did not

           have the requisite knowledge of the alleged primary infringement and did not cause,

           encourage, or induce the alleged primary infringement.

        7. Plaintiffs’ claim based on contributory liability is barred because Defendant did not

           materially contribute to the alleged primary infringement.

        8. Plaintiffs’ claim based on contributory liability is barred because Defendant’s

           social media service has substantial non-infringing uses.

        9. Plaintiffs’ failure to mitigate damages bars their claim based on contributory

           liability or limits their recovery on that claim.

        10. The doctrine of unclean hands bars Plaintiffs’ claim based on contributory liability.

        11. The doctrines of waiver and estoppel bar Plaintiffs’ claim based on contributory

           liability.

        12. Plaintiffs’ claim based on contributory liability is barred to the extent Plaintiffs do

           not own copyrights in the works underlying their claim.

        13. The Court lacks subject matter jurisdiction over Plaintiffs’ claim based on

           contributory liability to the extent it depends upon works for which Plaintiffs have

           not obtained copyright registrations.

        14. To the extent that Plaintiffs or their predecessors did not register copyrights before

           the alleged infringements or within three months of the first publication of

           published works, the failure to register timely bars Plaintiffs’ claim for statutory

           damages and attorneys’ fees.




                                              26
Case 3:23-cv-00606      Document 95        Filed 04/09/24       Page 26 of 29 PageID #: 564
         15. To the extent that Plaintiffs rely upon copyright registrations that rest upon

             misstatements or fraud, those misstatements or fraud bar Plaintiffs’ claim based on

             contributory liability.

         16. To the extent that Plaintiffs failed to comply with copyright renewal, notice, and

             registration requirements and/or other formalities, Plaintiffs’ claim based on

             contributory liability is barred.

         17. Plaintiffs’ claim based on contributory liability is barred because the statutory

             damages sought are unconstitutionally excessive and disproportionate to any actual

             damages that may be sustained, in violation of the Due Process clause of the United

             States Constitution.

         18. Application of the Copyright Act and its remedies to the conduct of Defendant and

             its subscribers as Plaintiffs request would violate the Due Process clause of the

             United States Constitution.

         19. Plaintiffs’ claim based on contributory liability is barred by the First Amendment

             to the United States Constitution.

         20. To the extent Plaintiffs can establish any underlying direct infringement or

             secondary infringement, Defendant’s liability and Plaintiffs’ remedies are limited

             because Defendant qualifies for “safe harbor” under the Digital Millennium

             Copyright Act (“DMCA”) 17 U.S.C. § 512(a).

Dated: April 9, 2024                              Respectfully Submitted,

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                                                27
Case 3:23-cv-00606       Document 95         Filed 04/09/24    Page 27 of 29 PageID #: 565
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                                      28
Case 3:23-cv-00606   Document 95   Filed 04/09/24   Page 28 of 29 PageID #: 566
                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed electronically on April 9, 2024 with

the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all parties

and counsel of record by operation of the Court’s CM/ECF system.

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                                                29
Case 3:23-cv-00606        Document 95        Filed 04/09/24      Page 29 of 29 PageID #: 567
